

People ex rel. Cassar v Toulon (2019 NY Slip Op 08347)





People ex rel. Cassar v Toulon


2019 NY Slip Op 08347


Decided on November 15, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
JOHN M. LEVENTHAL
JOSEPH J. MALTESE
VALERIE BRATHWAITE NELSON, JJ.


2019-12677	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. Christopher J. Cassar, on behalf of Remon L. Gibson, petitioner, 
vErrol D. Toulon, Jr., Sheriff Suffolk County Correctional Facility, et al., respondents. Christopher J. Cassar, Huntington, NY, petitioner pro se.


Timothy D. Sini, District Attorney, Riverhead, NY (Danielle Davis of counsel), respondent pro se and for respondent Errol D. Toulon, Jr.
Writ of habeas corpus in the nature of an application to release the defendant on his own recognizance or for bail reduction upon Suffolk County Indictment No. 1596A/19.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail on Suffolk County Indictment No. 1596A/19 is reduced to the sum of $600,000, which may be posted in the form of an insurance company bail bond in that sum or by depositing the sum of $300,000 as a cash bail alternative, with a bail source hearing to be held pursuant to CPL 520.30, on condition that (1) the defendant shall surrender all passports, if any, he may have to the Office of the District Attorney of Suffolk County and is prohibited from applying for any new or replacement passports; (2) the defendant shall wear an electronic monitoring bracelet, with monitoring services to be provided by an entity approved by the Office of the District Attorney of Suffolk County and paid for by the defendant; any violations of the conditions set forth herein relating to the electronic monitoring of the defendant shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Suffolk County; (3) the defendant shall remain within and shall not travel beyond the geographical limits of the counties of Nassau and Suffolk; and (4) the defendant shall provide to the Office of the District Attorney of Suffolk County, in a form approved by the Office of the District Attorney of Suffolk County, an affidavit in which he attests that if he leaves the jurisdiction he agrees to waive his right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that the defendant has (1) given an insurance company bail bond in the sum of $600,000 or has deposited the sum of $300,000 as a cash bail alternative, subsequent to the bail source hearing held pursuant to CPL 520.30; (2) surrendered all passports, if any, he may have to the Office of the District Attorney of Suffolk County; (3) arranged for electronic monitoring with an entity approved by the Office of the District Attorney of Suffolk County; and (4) provided the Office of the District Attorney of Suffolk County with an affidavit, in a form approved by the Office of the District [*2]Attorney of Suffolk County, attesting that if he leaves the jurisdiction he agrees to waive his right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which the defendant is incarcerated, or his or her agent, is directed to immediately release the defendant.
MASTRO, J.P., LEVENTHAL, MALTESE and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








